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UN|TED STATES D|STRICT COURT
SOUTHERN DlSTR|CT OF NEW YORK
X

UN!TED ST/-\TES OF AMERICA, ex re|., STATE 1
OF NEW YORK, ex rel., and W|LL!ANI J. ROLD, :

 

P'amt"cfs’ 1 Docket No. 14-0\/-04393 (LAP)
- against - .
2 Ora| Argument Requested
RAFF & BECKER, LLP, DAV|D A. RAFF,
ROBERT L. BECKER, M. PATR|C!A SMlTH,
LEONARD D. POLLETTA, ANDREV\/ N|.
CUOMO, ER|C T. SCHNE!DERMAN,
COLLEEN C. GARDNER, and PETER M.
RlVERA,

Defendants.

 

DEFENDANT LEONARD D. POLLETTA’S REPLY BR!EF

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Date of Service: October 16, 2014

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iNTRODUCT|ON

All defendants moved to dismiss VVR’s First Arnended Complaint (‘FAC”). _S__e_e_L
e_.g_., Dl<t 104, 106-1, 108. VVR opposed that motion and moved to file a Second
Amended Complaint (“SAC”). Dkt 113, 114. The court granted VVR’s motion to amend
on consent of all defendants and WR filed the SAC. Dkt 123, 124. Pursuant to this
Court’s August 18, 2014 Order, LP hereby submits this reply brief in further support of
his motion to dismiss the SAC. _S_ee_ Dkt 137.

THE SAC DOES NOT PROPERLY PLEAD QUl TAM CLAlMS

The SAC’s first two claims are gui_tarn claims under 31 U.S.C. §3729, the False
Claims Act (“FCA”). Contrary to VVR’s argument, the SAC does not state an FCA “false
certification” claim. _Se_e Dkt 114-1, 57. “Express false certification” is “a claim that
falsely certifies compliance with a particular statute, regulation or contractual term,
where compliance is a prerequisite to payment.” Mikes v. Straus 274 F.3d 687, 698 (2d
Cir. 2001). “|mplied false certification is appropriately applied only when the underlying
statute or regulation upon which the plaintiff relies expressly states the provider must
comply in order to be paid.” l_d_. at 700. (Emphasis in original).

The first guitaLn_ claim asserts that the Government Defendants falsely certified
to the U.S. Depaitment of Labor (“USDOL”) that all federal money received by the
Unemployment insurance Appea|s Board (“UIAB”) is being used to administer the state
unemployment insurance (“Ul”) program, when some of that money is used to comply
with _B_ar_cia_. Dl<t 124, 1]1183, 261-68. However, the SAC and VVR’s Opposition Briefs cite

no statute or regulation which defines “administration” or bars a state from using federal

 

1 VVe refer to Polletta as “LP,” to defendants Srnith, Pol|etta, Cuomo, Schneiderman,
Gardner, and Rivera collectively as “Government Defendants,” to defendants Raff,
Becker and Raff & Becl<er, LLP collectively as “R&B,” and to plaintiff Rold as “VVR.”

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money to comply with federal court orders compelling the state to provide due process
to Ul claimants

Nothing in 42 U.S.C. §502 or §503 defines “administration” or bars a state from
spending federal grants to comply with court orders requiring it to provide due process
to Ul claimants Dkt 124, 1[1168-69. The SAC’s reliance on 20 CFR §601 is misplaced
ld_., 111170-75. Section 601.1(c) merely provides that “[g]rants of funds are made to
States for administration of their employment security laws if their unemployment
compensation laws . . . meet required conditions of federal law.” 20 C.F,R. §601.1
(2014). That provision neither bars states from spending federal money to comply with
federal court orders, nor defines “administration.” The SAC cites the “ETA Handbool<,”
which states that a state may “include only those costs allowable under ONlB Circular A-
87.” ETA Handbook No. 410, at l-2; _s_e_§ Dkt 124, 1179 Under Ol\/lB Circular A-87, “legal
expenses required in the administration of federal programs are allowable.” Hence all
legal expenses of _B_a_r_<_:_i§_ compliance are allowable Ol\/lB Circular A-87, Cost Principles
for State, l_ocal, and lndian Tribal Governments, Revised (5/10/04), at 15, available at
http;//www.whitehouse.gov/omb/circulars_a087__2004.

To satisfy the FCA’s scienter requirement, VVR must plead that LP made a false
claim “knowing of its falsity.” l\_/lik_es_, 274 F.3d at 695. “Where a relator alleges that a
claimants interpretation of an ambiguous regulation renders its claims false under the
FCA . . . whether a claimant acted knowingly in submitting a false claim turns on ‘the
reasonableness of [the claimant’s] interpretation.”’ U,S. ex rel. Colucci v. Beth israel
l\/led. Ctr., 785 F.Supp. 2d 303, 316 (S.D.N.Y. 2011) (emphasis in original). As the

statutory and regulatory provisions upon which the SAC relies do not define

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“adrninistration” or bar use of federal monies to pay for compliance with court orders,
the state’s reporting to the USDOL that it used federal monies for “administration” is
reasonable and not knowingly false. Thus it does not give rise to an FCA tham claim.
As discussed in our earlier briefs, this claim also fails as to LP because it does not
allege that LP submitted false claims or describe LP’s role in the alleged conspiracy to
submit false claims. Dkt 149; Dkt 108, 4-8.

The second g_tLt_am claim asserts that Government Defendants “knowingly
caused false certifications of timeliness to be filed” with USDOL. Dkt 124, 11269. The
SAQ alleges that the timeliness certifications are false because when claimants request
adjournments, they are told by the judges that, instead of an adjournment, their case
would be dismissed but they would be granted “liberal leave to reopen” if they applied
for a new hearing VVhen claimants applied for a new hearing, they received “new case
numbers and new hearing dates . . . permitting Government Defendants to cause false
certifications to be filed that inflated the number of appeals resolved.” ld_;, 99. This
does not state a false certification claim because WR fails to identify “the underlying
statute or regulation . . . which . . . expressly states the provider must comply [with] in
order to be paid.” ML§§, 274 F.3d at 700. The SAC fails to identify any regulations
which bar UlAB from treating requests for adjournment in this way. Qo_luq:_i, 785
F.Supp. 2d at 314. Also, given the lack of specifically applicable regulations, the state’s
reporting of its timeliness statistics as described in the SAC is not knowingly false, and
thus the SAC does not allege the requisite scienter. l_cL, at 316. As discussed in our

earlier briefs, this claim fails as to LP because it does not allege that LP submitted a

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false claim, or explain LP’s role in the alleged conspiracy to submit false claims. Dkt
149; Dkt 108, 4-8.

V\/R’s third claim is a w claim under the New York False Claims Act
(“NYFCA”), New York Finance l_aw, §§187 et seq. That claim asserts that the
Government Defendants falsely certified R&B’s fee statements which sought rates that
were too high, charged for partners to do what associates could have done, and spent
for too much time on tasks. Dkt 124, 1111125, 272. While V\/R asserts the R&B partner
rate of $620/hour is excessive, this Court has approved $600/hour for a 1995 law school
graduate Guallpa v. NY Pro Siqns lnc., No. 11 Civ. 3133 (l_GS)(Fl\/l), 2014 WL
2200393 at *10 (S.D.N.Y. lvtay 27, 2014), report and recommendation adopted, 2014
VVL 4105948 (S.D.N.Y. Aug. 18, 2014). There is no bright line delineating when a
lawyer spent “too much” time on a legal document: lawyers will honestly differ about
this1 Similarly, whether a partner or an associate should perform a task is open to
interpretation While VVR believes that lawyers should not charge for “proofreading,”
lawyers routinely proofread documents in the process of editing and charge for that.
VVR’s unhappiness with R&B’s fees does not transform the state’s approval of those
fees into a false claim. This claim also fails as to LP because it does not allege with the
required specificity LP’s role in the alleged conspiracy to submit false claims. Dkt 149;
Dkt108, 4-8.

LP lS NOT |NDlVlDUALLY LlABLl'-_` ON THE QUl TAl\/l CLAll\/lS

V\/R alleges that LP is individually liable on the FCA QM claims Dkt 114-1,

90~92. He is wrong. l_P is not individually liable for the FCA g_uit& claims because

VVR failed to plead that LP personally profited from the alleged false claim. Relying on

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U.S. ex rel. Graber v. Citv of New York, 8 F.Supp. 2d 343 (S.D.N.Y. 1998), one Court

explained:

ln Graber the Court indicated in dicta that FCA claims
against government officials in their personal capacities
should rest on allegations of personal gain . . . . This Court
concludes that Graber represents the better construction of
the FCA . . . The issue is . . . whether they can be sued in
their personal capacity, rather than their official capacity,
when there is no allegation of personal gain. Absent any
clear authority on this point, we conclude that they cannot

 

 

U.S. ex rel l-loneywell, lnc. v. S. F. Hous. Auth., No. C99-1936 TEH, 2001 WL 793300
at *4~5 (N.D. Cal. July 12, 2001); see also, Alexander v. Gilmore, 202 F.Supp. 2d 478,
482 (E.D. Va. 2002); U.S. ex rel. Kinnev v. Stoltz, No. Civ.01-1287 (RHK/JMM), 2002
WL 523869, at *7 n.3 (D. l\/linn. Apr. 5, 2002); U.S. ex rel. Parikh v. Citizens Nledical
_C_e__r_i_t_ej, 977 F. Supp. 2d 654, 680 n.5 (S.D. Tex. 2013).

“[T]he mere incantation of the term ‘individual capacity’ is not enough to
transform an official capacity action into an individual capacity action,” QQ_\;_
Alexander, 255 F.3d 128, 137 (4th Cir. 2001 ). WR must plead facts to suggest that in
submitting the alleged false claims, LP was acting in “other than [his] official capacit[y].”
§ilg'i@, 202 F.Supp. 2d at 482; U.S. ex rel. Gaudineer & Comito, L.L.P. v. lowa, 269
F.3d 932, 936-37 (8th Cir. 2001). The Gaudineer Court upheld the denial of a motion to
amend to assert an FCA gm individual capacity claim against a government official
where relator did not allege that the official acted outside of his official capacity The

court explained:

ln determining whether a state official may be liable for
money damages in his individual capacity, . . . [w]e should
look at whether the alleged conduct of the defendant was
“outside of [his] official duties.” . . . . Relator has not alleged

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. . . how he acted outside those duties by issuing eligibility
standards which allegedly conflicted with state regulations

Gaudineer, 269 F.3d at 936-37; see also, U.S. ex rel Hixson v. Health i\/lqmt. Svs., inc.,
657 F.Supp. 2d 1039, 1058 (S.D. iowa 2009), aid 613 F.3d 1186 (8th Cir. 2010)
(dismissing individual capacity FCA claims against state officials which did not allege
that violations of federal law were “carried out by individual officials not pursuant to any
state poiicy.”). The SAC’s allegations demonstrate that i_P acted in his official capacity,
§§e_ Dkt124,‘[jti76, 83, 85, 100-04, 110, 137, 142-47, 181-85, 191-98.

VVR argues that because Government Defendants “did not file false claims in
their official capacities,” they are individually liable for the NYFCA claim, which relates to
the R&B fees Dkt 114-1, 93; Dkt 124, 11272. To the contrary, everything LP is alleged
to have done in connection with the R&B fees was done on behalf of the state, in an
official capacity Dkt 124, ‘iHj124-38. Federai cases barring individual capacity FCA
claims against government officials absent allegations of personal profit or conduct
outside of their official duties apply to NYFCA claims because the NYFCA “is nearly
identical to the FCA in all the material respects.” U.S. ex rel. Assocs. Aqainst Outlier
Fraud v. Huron Consuitinq Grp.. inc., 929 F.Supp. 2d 245, 256 (S.D.N.Y. 2013).

VVR erroneously alleges that a majority of courts have allowed individual capacity
FCA W claims against government officials that plead that the officials presented
false claims to the U.S. government. Dkt 114-1, 90 (reiying on Stoner v. Santa Ciara
Cou{ntv Office of Education, 502 F.3d 1116 (9th Cir. 2007)). Gaudineer, the only other
Circuit Court ruling addressing this issue, adopted the opposite conciusion. 269 F.3d at
936~937. M ignores _G_ra_b_e_r and the other cases requiring an allegation of personai

gain to state an individual capacity i-`CA claim against government officials

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WR CANNOT ETHiCALLY PURSUE HIS QU| TA|V| CLAiMS

V\/e argued that VVR’s gui tam claims must be dismissed because he pursues
them in violation of the New York Rules of Professionai Conduct (“NY Rules”). Dkt 108,
9-16. “Disclosure of confidential information in order to collect a whistleblower bounty is
unlikely, in most instances to be ethically justifiable.” NYCLA Comm. on Prof’i Ethics,
Formal Op. 746 (2013) (“Opinion 746”), available at
https://www.nycla.org/siteFiles/Pub|ications/Publications1647_0.pdf. WR states that
Opinion 746 concerns “obligations of corporate lawyers to their Wail Street clients” and
“has no application here.” Dkt 114-1, 120 n.80. However, Opinion 746 is not limited to
“corporate lawyers,” and does not support WR’s claim that he has fewer ethical
constraints than “corporate lawyers.” its analysis of attorneys’ obligations to maintain
confidences is not limited to “corporate lawyers.” NY Rule 1.13 applies to government
lawyers like V\/R. NY Ruies of Prof’i Conduct R. (“NY Rule”) 1.13, cmt. 9 (2014).
Opinion 746 explains:
New York RPC 1.13 . . . requires an attorney aware of
corporate misconduct that constitutes a violation of law . . .
to take reasonable measures within the organization to
prevent harm to the organization, but does not contain
independent support for reporting outside the organization if
such reporting might result in disclosure of confidential
information in violation of Rule 1.6 . . . Thus, reporting out is

circumscribed under New York law to those instances
permitted in RPC 1.6(b).

Opinion 746 p. 8. VVR is bound by NY Rule 1.13, so could only “report out” if allowed
by NY Rule 1.6(b).
WR argues that his disclosures “meet[ ] the [NY Rule 1.6(b)(2)] ‘prevent a crime’

test since . . . [the allegedly criminal] false certifications are ongoing.” Dkt 114-1, 115.

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However, Rule 1.6(b)(2) does not permit a lawyer “to disclose a client’s past criminal
conduct.” Roy Simon, Simon’s N.Y. Rules of Professional Conduct, Annotated 215
(2013 ed. 2012). By suing for a th_am bounty instead of reporting the “crime” to a
prosecutor, VVR violated Rule 1.6(b)(2), which “restricts the lawyer’s disclosure to those
the lawyer believes must know in order to prevent the crime from taking piace. This
choice includes the possible victim, . . . the victim’s attorney, the police, the District
Attorney, or anyone else in a positon to prevent the crime.” _S_i_n_@’§, at 216. WR’s
disclosures in this lawsuit are to collect a bounty, not prevent a crime, and thus barred
by Opinion 746.

WR asserts that NYFCA §191(2) authorizes his disclosures of confidential
information. Dkt 114-1, 108. This argument fails because §191(2) authorizes
disclosures “for the sole purpose of furthering efforts to stop . . . violations of this
article.” WR’s disclosures are to gain a g_LLta_m bounty and thus not solely to stop
NYFCA violations Also, VVR’s NYFCA g_t_ii__t_a_m_ claim relates only to R&B fees Dkt 113-
2, 1111271-77. Thus, at most, §191(2) would only authorize disclosure relating to R&B
fees Finaliy, nothing in §191(2) suggests that it supersedes the NY Ruies, which are
not a “contract” or a “duty owed to the empioyer” but instead define a lawyer’s duty to
the client.

WR says that he is free to pursue his QM claims since he was “never an
attorney for any of the defendants.” Dkt 114*1, 108-12. Aliegations in the SAC

contradict this: VVR was UlAB “General Counsel” and a “key advisor” in Barcia who

 

formulated strategy to “achieve compliance with the consent decrees in . . . Barcia and

end it.” Dkt 113-2, 111124, 139-51. i_P is UiAB Chair, and Smith was Commissioner of

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the New York State Department of Labor (“DOl_”). Dkt 124, 11119, 10. Named

defendants in Barcia “included the Commissioner of Labor and the [UiAB] Chair.” |_d_.,

 

1128. A suit against a government official in her official capacity “is a suit against the
officials office.” VVill v. Mich. Dep’t of State Police, 491 U.S. 58, 71 (1989). As UiAB
“General Counsel” and a “key advisor” to the U|AB in §i_r_ci_a, WR was a lawyer for LP
andSmith, _B_a_r_c_i_a_ defendants he now sues in their official capacities Dkt 124, 1115.
Because VVR is suing LP and Smith in their official capacity, and because he was their

lawyer in connection with Barcia, VVR is now suing his former clients in violation of the

 

obligations imposed by the NY Rules. According to WR, his “relationship was with the
UIAB as an entity, not with its Chair,” and that LP, “by arguing that Rold was his
attorney, equates his individual positons as Chair of the Appeal Board with the Appeal
Board itself.” Dkt 114-1, 110.2 Not so. WR represented the parties in _B_M, including
the UlAB Chair and members in _B_a_[c_:i_a_. Dkt 124, 1128. VVR argues that litigating this
case would breach no confidences because “none of the defendants were former
‘ciients.”’ Dkt 114»1, 114. This is wrong: LP and Smith were VVR's former clients

WR argues that the NY Rules do not bar his g_L_ii_ta_m claims because, in 2009, LP
changed VVR’s duties to exclude him from §§W negotiations and eliminate his role as
Ul/-\B legal advisor ld_;, 111. VVR began working for the UlAB in September, 2007. Dkt
124, 1127. That he lost duties in 2009 is of no moment, because he represented LP,

Smith, and the UlAB until 2009.

 

2 WR’s brief contradicts itself here, asserting at the top of the page that “Polletta does
not . . . contend . . . that Rold represented him,” and asserting several lines below that
Polietta “argu[ed] that Rold was his attorney.” Dkt 114-11 110.

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Even though VVR represented Smith and l_P in Barcia and is now suing them in

 

their official capacity, he argues that he did not “switch sides” because “to the extent he
acted as an attorney, . . . [he acted] in the best interests of the UiAB, . . . is not now

suing the UiAB,” and has “maintained his loyalty.” Dkt 114-1, 112. in Barcia, however,

 

VVR represented the UlAB Chair and the Commissioner of Labor, each of whom he now
sues in their official capacity. WR has switched sides and not maintained his loyalty
VVR asserts he will not use “confidential information” because “virtually all of the
information Rold learned was acquired in his administrative capacity [and] most of it was
already [publicly] known.” id_._, 114. How VVR learned information is not relevant: if it is
“confidential information” under Rule 1.6, he can’t disclose it. While “most of’ the
information may be public, WR must maintain the confidentiality of all non-public
confidential information V\/R even insists that “defendants have not shown that
prosecution of this Li__‘@__m_ case would require disclosure of ‘confidential information.”’
l_d_;, 114. That argument is defeated on the face of the SAC. WR’s first ggi_§am claim

revolves around Government Defendants’ legal strategy in Barcia, hence litigating that

 

claim will necessarily result in disclosure of that strategy

VVR argues that (i) defendants have not proved that the elements of an
attorney/client privilege have been met, (ii) “there are no sworn statements by clients
invoking the privilege,” and (iii) there are no “particuiar statements about what
communications defendants maintain are privileged, despite plaintiff-relator requests.”
|_d_., 116-17. This argument fails First, LP and Smith were, in their official capacities
VVR’s clients, and both, through counsel, invoked the privilege _S_e_e Dkt 108, 15-16; Dkt

106-1, 14~15. Second, they do not seek to bar only disclosure of material protected by

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the attorney client privilege but instead seek to bar disclosure of “confidentia|
information,” which includes material “likely to be . , . detrimental to the client if
disclosed,” and “that the client has requested be kept confidential.” NY Rule 1.6. lt

would be “detrimental” to Barcia defendants if their strategy is disciosed, and in their

 

prior memoranda in this case LP and Smith asked that this information be kept
conndenual

Finally, WR argues that because “defendants have waived any privilege” he may
disclose his former clients’ confidences with impunity Dkt 114-1, 117-18. VVR tacitly

concedes that Barcia defendants did not expressly waive their privilege instead, WR

 

claims implied waiver based on his disclosure of allegedly privileged material and the
B_a;c_ia_ defendants failure to then seek to seal that material. id_. However, implied
waiver is available only where “the privilege holder ‘asserts a claim that in fairness
requires examination of protected communications,’” in re Grand Jurv Proceedinqs, 219
F.3d 175, 182 (2d Cir. 2000) (internai emphasis omitted), and this did not happen here

CONTRARY TO WR’S ASSERT|ON, THERE |S NO lNDlV|DUAL
l_lABlL|TY FOR THE FCA AND NYFCA RETAL|ATlON CLAlMS

V\/R’s FCA and NYFCA retaliation claims failed as to l_F because there is no
individual liability for those claims Dkt 108, 16-18. Despite acknowledging that this
Court has ruled that there is no individual liability for an FCA retaliation claim, WR
argues that “none of the cases defendants cite consider . . . a former state employee -
relator . . . [with] a claim against state officials . . . who is also a victim of retaliation at
their hands.” Dkt 114, 101. He ignores two 2014 decisions finding no individual liability
where FCA-relators brought retaliation claims against state employee supervisors

lVionsour v. New York State Office for Peopie with Developmental Disabilities, No. 1:13~

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CV-0336 (TJM)(CFH), 2014 WL 975604, at *10-11 (N.D.N.Y. i\/iar. 12, 2014); Tayior v.
New York State Office for People with Developmental Disabilities, No. 1:13-CV~740
(NAl\/i/CFH), 2014 Wl_1202587, *10 (N.D.N.Y. l\/iar. 24, 2014).

VVR cites Huanq v. Rector and Visitors of Univ. of Va., 896 F. Supp. 2d 524, 548
n.16 (W.D. Va. 2012), and U.S. ex rel. l\/ioore v. Cmtv. Health Servs., inc., Civil No.
3:090v1127 (JBA), 2012 V\/L 1069474 at *9 (D. Conn. i\/iar, 29, 2012) for the proposition
that'supervisors can be liable for an FCA retaliation claim. Dkt 114, 102. _i\/i_o_o_r_e_ “has
been rejected both within and outside this Circuit.” Monsour, 2014 Wl_ 975604 at *11
(citinq Fisch v. New Heiqhts Acad. Charter Sch., No. 12 Civ. 2033 (DLC), 2012 VVL
4049959 at *4 (S.D.N.Y. Sept. 13, 2012). H_L@g did not address the issue because
defendants did not raise it in a timely fashion. 896 F.Supp. 2d at 548 n.16.

The NYFCA does not provide a retaliatory discharge claim against supervisors
l\/lonsour, 2014 Wl_ 975604 at *11; Landfield v. Tamares Real Estate Holdinqs, inc., No.
105149/11, 2012 WL 3135052 at *3 (N.Y. Sup. Ct. July 23, 2012). VVR argues that
because NYFCA §191 “protects ‘private or public’ employees against retaliation,” it
allows retaliation claims against supervisors Dkt 114, 102-03. This argument is
inconsistent with the above cited case law. Also, §191 is, in relevant part, nearly
identical to the earlier version of FCA §3730(h), which did not allow claims against
supervisors Yesudian ex rel. U.S. v. Howard Univ., 270 F.3d 969, 972 (D.C. Cir. 2001).

We explained that WR’s FCA and NYFCA retaliation claims failed because they
did not allege that LP knew that VVR engaged in FCA protected activity Dkt 108, 18-20.
in response WR ignores the applicable case law and asserts that his “grievance

actually invokes gui tam specificaliy.” Dkt 114-1, 78-79. VVR filed the grievance after he

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was fired, Dkt 124, 11202, so lt could not have put defendants on notice before VVR’s

termination that he was pursuing a gui tam claim.

THE PROCEDURAL AND SUBSTANT|VE DUE PROCESS CLAlMS

We argued that WR’s procedural due process claim fails because he was an at~
will employee with no constitutionally protected right to his job. Dkt 108, 26-27. VVR
ignores this, asserting instead that he was denied “meaningful” due process because
“defendant Cuomo has failed to resolve his grievance . . . for over three years” Dkt

114-1, 85. VVR’s reliance on Harris v. i\/iills 572 F.3d 66, 75-76 (2d Cir. 2009) is

 

misplaced in _t_~i__a_r;i_§, the Court upheld the denial of the due process claim because an
Article 78 proceeding provides an adequate post-termination remedy, a remedy which
was available to WR. 572 F.3d at 75. Further, WR both admits he was an at will
employee Dkt 113-1, Becker Declaration, 114(c), and cites no authority to support the
notion that he had a property interest in his job. Thus, was entitled to no remedy
beyond an Article 78 proceeding

VVR ignores applicable case iaw, and asserts that Government Defendants’
“conspiracy” gave rise to a substantive due process claim. Dkt 114-1, 84-85. VVR is
wrong. Termination of a government employee does not give rise to a substantive due
process claim. Dkt 108, 26. V\/R cites no cases to the contrary

WR’S CLA|M UNDER THE STATE CONST|TUTlON

VVR’s claim under the Constitution of the State of New York (“NY Constitution”) is
time barred Dkt 108, 31. VVR ignores this argument and thus abandoned this claim.
Di Giovanni v. Beth israel l\/led. Ctr., 651 F. Supp.2d 193, 208 (S.D.N.Y. 2009), This
claim also fails because courts do not imply claims under the NY Constitution except in

circumstances not found here Alien v. Antai, No. 12 Civ. 8024 (NSR), 2014 WL
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2526977 at *10 (S.D.N.Y. i\/lar. 13, 2014). WR argues that the NY Constitution gives
him greater speech and due process rights than does the U.S. Constitution, Dkt 114-1,
86, but speech retaliation claims and substantive due process claims under the NY
Constitution are governed by the rules that apply to such claims under the U_S.
Constitution. Rotundo v. Villaqe of Yorkville, No. 6:09-CV-1262, 2011 WL 838892 at *4
n.8, *7 n.10, (N.D.N.Y. lViar. 4, 2011).

VVR’S CLA|l\/i UNDER 42 U.S.C. §1985(2)
WR’s claim under §1985(2) fails because the SAC did not plead that his conduct

was protected by §1985(2). Dkt 108, 27~28. As a party’s agent, \NR says he was
protected by §1985(2). Dkt 114, 86. However, §1985(2) protects parties not their
agents Dandar v. Church of Scientoloqv Fiad Serv. Orci., 551 Fed. /-\pp’x 965, 967
(11th Cir. 2013). WR argues he was protected by §1985(2) as a “potential witness” Dkt
114-1, 81, but absent an allegation that anyone planned to call WR to testify, such
speculation “is insufficient to afford . . . protection under . . . §1985(2).” Geaney v.
i\/icCarron, No. 01 Civ. 9260 (BSJ), 2003 WL 1701975 at *4 (S.D.N.Y. i\/iar. 31, 2003).
VVR cites i\/lallev-Duff & Assoc., lnc. v. Crown Life insurance Co., 792 F.2d 341, 355 (3d
Cir. 1986), Dkt 114-1, 82, which held that §1985(2) protects “a person asked to provide
discovery,” but VVR does not allege he was asked to do so. WR cites irizarry v. Quiros
722 F.2d 869, 870-73 (1st Cir. 1983) for the proposition that §1985(2) protects people
who file complaints under federal statutes Dkt 114-1, 82. |_riz_arg( plaintiffs stated a
§1985(2) claim because they were denied reemployment in retaliation for previously
instituted federal actions 722 F.2d at 871. Unlike the l_rjz_a_r_ry plaintiffs VVR was not
retaliated against after bringing a federal claim. Finaliy, V\/R’s claim under “the

uncodified provision Section 2 of the Civil Rights Act of 1871” fails as to LP because this

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provision applies only to attempts to “prevent the actual exercise of authority” of the
federal government Baidwin v. Franks, 120 U.S. 678, 693 (1887), and VVR does not
allege that LP engaged in such conduct

VVR’S FlRST A|V|ENDl\/lENT CLAll\/| FAil_S

WR’s First Amendment claim failed because the speech at issue was made
pursuant to his official duties Dkt 108, 21-25. VVR argues that as there is “room for
serious debate” on whether that speech was pursuant to his duties he is entitled to
discovery about his duties Dkt 114-1, 70-71. However, whether WR spoke as an
employee is “iargely a question of law for the court,” Jackier v. Byrne, 658 F.3d 225, 237
(2d Cir, 2011). There is no need for discovery on his job duties -the SAC lays them out
and shows V\/R spoke as an employee

“Restricting speech that owes its existence to a public empioyee’s professional
responsibilities does not infringe any liberties the employee might have enjoyed as a
private citizen.” Garcetti v. Ceballos, 547 U.S. 410, 421-22 (2006). Until a few months
before his termination, WR served as the Ul/-\B’s General Counsel. in that roie, he was

a “key agent” and “key advisor” to the Barcia defendants whose “primary mission [was]

 

. . . to achieve compliance with the consent decrees in Ug_i_a . . . and end it.” Dkt 124,
11115, 24, 139. VVR supervised the judges “whose delivery of due process determined
compliance with . . . §L<_:ja_.” i_d_., 1146. VVR participated in negotiations to modify the
_B__a_r_c_ia_ consent decree, and formulated strategy for those negotiations |d_., 1111139-45.

But for WR’s official duties he would not have known about Barcia or the impact of the

 

Amelioration Plan. As VVR’s Barcia-related speech owed its existence to his official

duties it is unprotected Garcetti, 547 U.S. at 421-22.

 

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\/VR cannot rely on Weintraub v. Bd. of Educ. of the Citv Schooi Dist. of N.Y., 593
F.3d 196 (2d Cir. 2010). Dkt 114-1, 71. After the issuance of Qag:_ett_i, the Weintraub
District Court reconsidered its initial decision denying defendants motion for summary
judgment and evaluated three types of speech about an incident for which plaintiff could
“plausibly claim retaliation”: a conversation with a supervisor, a conversation with co-
workers and a grievance Weintraub v. Bd. of Educ. of N.Y., 489 F.Supp. 2d 209, 214
(E.D_N.Y. 2007). Gn reconsideration, the court granted summary judgment as to the
first and third categories of speech 1114 at 220. The Second Circuit took an interlocutory
appeal “iimited to . . . whether the First Amendment protects his filing of a grievance”
and{found that the grievance was not protected because it was a “part and parcel of
[piaintiff’s concerns] about his ability to ‘properly execute his duties.’” 593 F.3d at 203.

As VVR’s job duties included supervising judges and Barcia compliance and because

 

his speech about the Amelioration Pian related to §a_r_gi_a_ compliance and those judges’
duties that speech was “part-and-parcel of his concerns” about his ability to “proper|y
execute his duties” and thus unprotected i_d_; WR also argues that his speech was
protected because his complaint to “an independent state agency” could have been

made by any citizen, Dkt 114-1, 71-72. VVR’s complaints about Barcia and the

 

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Amelioration Pian have no “citizen analog.’ No ordinary citizen could send a memo to
the UiAB on how the Amelioration Pian would affect the workload of the judges that WR
supervised

VVR relies heavily on iagklg. Dkt 114-1, 71-73. “The Second Circuit in l.l_a_cl_<le_r

pointedly described the protected speech as the refusal to retract the truthful report and

file a false one,” and “did 391 address whether, let alone hold that Jackier’s original,

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truthful report would have constituted protected speech.” i\/latthews v. City of N,Y., 957
i-'.Supp. 2d 442, 456 (S.D.N.Y. 2013) (emphasis in original). i\/iatthews found that
bi_a_t_c_l$e_r did not apply where plaintiff “made a series of truthful reports about his
concerns” because “unlike J_ac_kl_e__r, he was neither compelled to retract those
statements nor to file a false report.” g WR was not compelled to retract reports or
issue false reports so d_a_a_c_lgi_e_r does not help him.

Simiiarly, VVR cites Rosenblatt v, Citv of New York, No. 05 Civ. 5521 (GEL), 2007
VVL 2197835 (S.D.N.Y. July 31, 2007) to no avail Rosenblatt “held that the plaintiffs
complaint constituted protected speech, not because it was made to an outside agency
but rather because it involved issues that did not fall within the parameters of her official
duties” Rodriquez v. lnt’i Leadership Charter Sch., No. 08 Civ. 1012 (PAC), 2009 VVL
860622 at *3 (S.D.N.Y. Mar. 30, 2009), As discussed above VVR’s complaints were
solely about topics “within the parameters [of his] official duties” l_d_. WR supervised the
UlAB judges including Mammen. Dkt 124, 1140. After UlAB judges told him that
l\/iammen was changing their legal work and forging their signatures WR investigated
found the allegations to be true reported this to LP and Smith, wrote a report on his
findings and asked that Mammen be terminated jgl_., 1111159~64. As UiAB decisions
tainted by Mammen’s misconduct were on review before the Third Department, WR
“arranged for the decisions . . . to be withdrawn,” filed an ethics complaint with the Third
Department, and delivered his Mammen report to the inspector General (“lG”). |_c_i_.,
1111166-67.

To determine if this speech is protected we look not to whether it was “made to

an outside agency” but to whether it “involved issues” “within the parameters” of Rold’s

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“official duties” Rodriguez, 2009 VVL 860622, at *3. “_C_i_a_[ge_t_t_i . . . defined speech made
‘pursuant to’ a public employee’s job duties as ‘speech that owes its existence to a
public employees professional responsibilities”’ Weintraub, 593 F.3d at 201. The
Mammen-related speech is unprotected because but for his job, V\/R would not have
learned of l\/iammen’s misdeeds or reported them to the iG and the Third Department
That civilians report misconduct to the |G is not dispositve. Dkt 114-1, 74.

V\/R’s citations to Casey v. West Las Veqas independent School District, 473
F.3d 1323 (10th Cir. 2007) and Anemone v. l\/letropolitan Transportation Authoritv, 629
F.3d 97 (2d Cir. 2011), Dkt 114-1, 73, 75-77, are ineffectual _C_)_a_s_e_y holds that a report
of misconduct to an outside agency in contravention of a superior’s directives is not
automatically cloaked with First Amendment protection: such speech is protected only if
it is not part of the speaker’s job. 473 F.3d at 1331-32. Similarly, Anemone holds that
“[w]hen a government employee . . . engages in speech pursuant to his official duties
the fact that he persists in such speech after a supervisor has told him to stop does not,
without more transform his speech into protected speech.” 629 F.3d at 116. Under
_Cis_ey and Anemone, that WR spoke about Mammen and the Ameiioration Pian after
being told to stop does not transform that speech into protected speech.

V\/R relies heavily on Dahlia v. Rodriguez, 735 F.3d 1060 (9th Cir. 2013). Dkt
114-1, 73-75. Qah_li_a held “that, generally, ‘when a public employee raises complaints
or concerns up the chain of command at his workplace about his job duties that speech
is undertaken in the course of performing his job,” and not protected 735 F.3d at 1074.

As Rold’s “speech” about Barcia and the Amelioration Pian was made “up the chain of

 

command” it is unprotected under Dahlia. Dkt 124,1111150, 181, 183, 190, 194.

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VVR argues that his report on Mammen to the lG and his Third Department
complaint was protected since it was made contrary to his supervisors directives Dkt
114-1, 70-72. However, under M and Anemone this does not transform VVR’s job-
related speech into protected speech. VVR’s lG report and Third Department complaint
“owes its existence” to VVR’s “professional responsibilities.” wettj, 547 U.S. at 421.
To see if speech “falis within . . . plaintist job duties” one looks to “the impetus for [the]
speech,” its setting and subject matter and whether it “derived from special knowledge
obtained during the course of . . . employment.” Qa_h_la_, 735 F.3d at 1074, n.13. The
“impetus” and subject matter for this speech Was misconduct by a judge WR
supervised The setting of the speech was the court considering UlAB decisions tainted
by Mammen’s misconduct, which occurred while WR supervised him. VVR learned of
Mammen’s misconduct from judges he supervised: but for his job, he would have never
known of that misconduct or needed to confront it. VVR’s claim that defendants
improperly convert “Garcetti’s exception for speech made ‘pursuant to job duties’ to
speech about information learned during the job, regardless of job duties” Dkt 114-1,
74, is wrong, because the source of the information upon which the speech is based is

a key factor in determining whether the speech is protected Dahlia, 735 F.3d at 1074

 

n.13.

THE ELEVENTH AMENDN|ENT BARS Al_L OFF|C|AL CAPAClTY CLA|MS

We argued that VVR’s non-FCA claims against LP in his official capacity failed on
Eleventh Amendment ground Dkt 108, 20-21. VVR ignored the cases we cited, Dkt
114~1, 89~98. For the reasons stated in our opening brief, his non-FCA official capacity

claims against LP must be dismissed on Eleventh Amendment grounds Aiso, the

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official capacity FCA and NYFCA claims against LP are barred on sovereign immunity
grounds lugs 8~9.
QQ_.N_Q_L_U_S|_Q_N

For the reasons articulated above and in our opening brief in support of our
motion to dismiss ali claims against LP should be dismissed with prejudice

Dated: October 16, 2014
New York, New York

N|EYER, SUOZZl, ENGL|SH & KLE|N, P.C.

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